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15
                              UNITED STATES DISTRICT COURT
16
17                       CENTRAL DISTRICT OF CALIFORNIA
18
     EWU MEDIA, LLC, a Nevada limited             2:24-cv-02046-MEMF-PD
19   liability company,
                                                  JOINT STIPULATION OF
20               Plaintiff,                       DISMISSAL OF ACTION WITH
21                                                PREJUDICE
           vs.
22
     VOBILE, INC. a California corporation,
23   and A&E TELEVISION NETWORKS,
24   LLC, a Delaware limited liability
     company,
25
26               Defendants.

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                                    JOINT STIPULATION OF DISMISSAL OF ACTION WITH PREJUDICE
                                                                Case No: 2:24-CV-02046-MEMF-PD
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                                       #:193



 1         IT IS HERBY STIPULATED between Plaintiff, EWU Media LLC (“Plaintiff”),
 2   by and through their attorneys of record McLetchie Law, Defendant, Vobile, Inc.
 3   (“Vobile”), by and through their attorneys of record Pillsbury Winthrop Shaw Pittman
 4   LLP, and Defendant A&E Television Networks LLC (“AETN”), by and through their
 5   attorneys of record, Davis Wright Tremaine LLP (together, the “Parties”), pursuant to
 6   Federal Rule of Civil Procedure Fed. R. Civ. P. 41(a)(1)(A)(ii), that the above-
 7   referenced matter be dismissed with prejudice; and
 8         IT IS FURTHER STIPULATED that all parties shall bear their own attorney fees
 9   and costs.
10         All signatures listed, and on whose behalf the filing is submitted, concur in the
11   filing’s content and have authorized the filing.
12   Dated: May 27, 2025              MCLETCHIE LAW
                                      MARGARET A. MCLETCHIE
13
                                      By: /s/ Margaret A. McLetchie
14                                        Margaret A. McLetchie
15                                        Attorney for Plaintiff
                                          EWU MEDIA LLC
16
     Dated: May 27, 2025              PILLSBURY WINTHROP SHAW PITTMAN LLP
17                                    DIANNE L. SWEENEY
18                                    RYAN SELNESS
19                                    By: /s/ Ryan Selness
20                                      Ryan Selness
                                        Attorney for Defendant
21                                      VOBILE, INC.
22
     Dated: May 27, 2025              DAVIS WRIGHT TREMAINE LLP
23                                    SEAN M. SULLIVAN
24                                    JOEL RICHERT
25                                    By: /s/ Joel Richert
26                                      Joel Richert
                                        Attorney for Defendant
27                                      A&E TELEVISION NETWORKS LLC
28
                                                -2-
                                                 JOINT STIPULATION OF DISMISSAL OF ACTION WIT
                                                                 Case No: 2:24-CV-02046-MEMF-PD
